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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF LOUISIANA
                                  LAFAYETTE DIVISION

   IN THE MATTER OF BULLY 1                             CIVIL ACTION NO. 22-566
   (SWITZERLAND)     GMBH,    AS
   OWNER, AND NOBLE DRILLING                            JUDGE ROBERT R. SUMMERHAYS
   (U.S.) LLC, AS OWNER PRO HAC
   VICE, OF THE GLOBETROTTER II                         MAGISTRATE JUDGE              CAROL       B.
                                                        WHITEHURST


                  BULLY 1 AND NOBLE DRILLING’S ANSWER AND
             AFFIRMATIVE DEFENSES TO THE CLAIM OF YURY REMEDIO

         NOW INTO COURT, through undersigned counsel, come Bully 1 (Switzerland) GmbH

  (hereinafter referred to as “Bully 1”), as Owner, and Noble Drilling (U.S.) LLC (hereinafter referred

  to as “Noble Drilling”), as Owner Pro Hac Vice, of the GLOBETROTTER II (collectively referred

  to as “Petitioners”), who file this Answer and Affirmative Defenses to the Claim for Damages

  against Bully 1 and Noble Drilling filed by Yury Remedio (“Plaintiff” or “Remedio”) (R. Doc. 12)

  and respectfully aver as follows:

  I.     ANSWER TO THE CLAIM OF REMEDIO.

         In his Claim, Remedio includes allegations against Bully 1 and Noble Drilling. Because it

  is unclear which allegations apply to which party, out of an abundance of caution, both Bully 1

  and Noble Drilling (“Petitioners”) reply to all of the allegations of Remedio’s Claim as follows:

                                                   1.

         The paragraphs addressing Remedio’s defenses, paragraphs 1-7 of Remedio’s Section

  entitled “Insufficiency of Fund and Security”, and paragraphs 1-18 in Remedio’s Section entitled

  “Answer” contain no allegations against Petitioners, and therefore require no response from

  Petitioners. In the event a response is deemed necessary, the allegations are denied. Further, any

  unnumbered paragraphs or otherwise unanswered paragraphs are also denied.
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                                                  2.

         Petitioners admit that on or about August 28, 2021 Remedio was aboard the

  GLOBETROTTER II in the Gulf of Mexico. Except as admitted, Petitioners deny the allegations

  of Paragraph I of the Claim.

                                                  3.

         Petitioners admit that on or about August 28, 2021 Bully 1 was the Owner and Noble

  Drilling was the Owner Pro Hac Vice of the GLOBETROTTER II. Except as admitted, Petitioners

  deny the allegations of Paragraph II of the Claim.

                                                  4.

         Petitioners deny the allegations of Paragraph III of the Claim.

                                                  5.

         Petitioners deny the allegation of Paragraph IV of the Claim.

                                                  6.

         Petitioners deny the allegations of Paragraph V of the Claim.

                                                  7.

         Petitioners deny the allegations of Paragraph VI of the Claim.

                                                  8.

         Petitioners deny the allegations of Paragraph VII of the Claim.

                                                  9.

         Petitioners deny the allegations of Paragraph VIII of the Claim.

                                                 10.

         Petitioners deny the allegations of Paragraph IX of the Claim and its subparts A-J.




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                                                  11.

          Petitioners deny the allegations of Paragraph X of the Claim.

                                                  12.

          Petitioners deny the allegations of Paragraph XI of the Claim.

                                                  13.

          The paragraphs pertaining to Remedio’s Third Party Complaint contain no allegations

  against Petitioners, and therefore require no response from Petitioners. In the event a response is

  deemed necessary, the allegations are denied.

                                               PRAYER

          Petitioners deny any and all allegations contained in the unnumbered paragraph also

  referred to as the prayer for relief.

  II.      AFFIRMATIVE DEFENSES TO REMEDIO’S CLAIM.

                                           FIRST DEFENSE

          Petitioners adopt all defenses and allegations contained in their original Verified Complaint

  for Exoneration From or Limitation of Liability (R. Doc. 1) in defense of Smith’s Claim.

                                          SECOND DEFENSE

          The Claim fails to state a claim upon which relief can be granted.

                                          THIRD DEFENSE

          The Claim is barred by prescription, preemption, and/or laches.

                                          FOURTH DEFENSE

          Alternatively, Petitioners aver that Remedio’s injuries, if any, were caused or contributed

  to by the neglect or fault of others for whom Petitioners are not legally responsible.




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                                         FIFTH DEFENSE

         Alternatively, Petitioners aver that Remedio has failed to properly mitigate his damages, if

  any, as required by law.

                                         SIXTH DEFENSE

         Remedio’s present and/or prospective medical, physical and mental condition(s) are not

  the result of any incident or incidents as described in Remedio’s Claim, but rather pre-existed or

  occurred prior to or subsequent to the alleged accident, and/or have no causal connection to the

  alleged accident.

                                       SEVENTH DEFENSE

         Alternatively, Remedio’s alleged damages, if any, were caused or occasioned by

  intervening and/or superseding causes for which Petitioners are not legally responsible.

                                        EIGHTH DEFENSE

         Alternatively, Petitioners aver that their liability, if any, which is specifically denied, is

  purely passive and/or technical and the liability of others is actual and/or active, thus entitling

  Petitioners to full indemnification from those others who were negligent and/or otherwise at fault.

                                         NINTH DEFENSE

         Alternatively, if Petitioners were negligent, which is at all times denied, then that

  negligence or fault should be reduced by other parties and/or non-parties’ negligence or fault, and

  all damages against Petitioners should be reduced accordingly.



                                         TENTH DEFENSE

         Alternatively, Petitioners aver that in the event they are found liable in any way to

  Remedio, which is denied, any liability on the Petitioners’ part is merely joint liability and not




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  joint and several (nor in solido) with the liability of other parties or nonparties for whom the

  Petitioners are not responsible.

                                        ELEVENTH DEFENSE

           Alternatively, Petitioners are entitled to a set off and/or credit for all payments made to or

  on behalf of Remedio by any source, collateral or otherwise.

                                         TWELFTH DEFENSE

           Alternatively, Remedio has failed to follow medical advice and this failure is the cause of

  all of his alleged medical conditions.

                                      THIRTEENTH DEFENSE

           Petitioners affirmatively assert force majeure and/or Act of God as a defense to Remedio’s

  Claim.

                                      FOURTEENTH DEFENSE

           At all pertinent times, the GLOBETROTTER II was in all respects seaworthy and fit and

  proper for the service in which the GLOBETROTTER II was engaged, and was, in fact, tight,

  staunch, strong, and fully and properly equipped, and manned, well and sufficiently fitted with

  suitable engines, machinery, gear, tackle, apparel, and appliances.

                                        FIFTEENTH DEFENSE

           Petitioners assert that Plaintiff’s recovery of medical or healthcare expenses incurred is

  limited to the amount actually paid or incurred by or on behalf of the Plaintiff.

                                        SIXTEENTH DEFENSE

           It is Plaintiff’s burden to prove that his medical procedures and medical expenses were

  reasonable and necessary.




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                                    SEVENTEENTH DEFENSE

         Petitioners assert that Remedio’s recovery in this matter, if any, shall be limited by the

  Fifth Circuit’s Maximum Recovery Rule to an amount that is not disproportionate to at least one

  factually similar case from the relevant jurisdiction. See Puga v. RCX Solutions, Incorporated, 922

  F.3d 285, 297 (5th Cir. 2019).

                                    EIGHTEENTH DEFENSE

         Petitioners assert that Remedio’s alleged damages were the result of an unavoidable

  accident or other circumstances beyond Petitioners’ control

                                     NINETEENTH DEFENSE

         Petitioners specifically reserve the right to supplement, amend and/or modify their answer

  and defenses to conform to such facts as may be revealed during discovery or otherwise.

         WHEREFORE, Petitioners, Bully 1 and Noble Drilling, pray that this Answer and

  Affirmative Defenses to the Claim of Yury Remedio be deemed good and sufficient and, after due

  delays and proceedings be had, there be judgment in Petitioners’ favor, dismissing Remedio’s

  Claim against Petitioners with prejudice, at Remedio’s cost, and for all other relief to which

  Petitioners are entitled under both law and equity.



                                   [Signatures on Following Page]




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                               Respectfully submitted:

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                               NOBLE DRILLING (U.S.) LLC




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                                   CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on this the 2nd day of August 2022, I electronically filed the
  foregoing with the Clerk of Court by using the CM/ECF system which will send a notice of
  electronic filing to all counsel of record. I further certify that I mailed the foregoing document and
  the notice of electronic filing by first-class mail to those who are non-CM/ECF participants.

                                                 ______/s/Robert M. Kallam ________




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